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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:16CR62

       vs.
                                                                       ORDER
FRANCISCO GOMEZ, ROSE GOMEZ,
JASON HIBBS, MANUEL ORTIZ, LORI
FORMANEK, and MARIA ROBLES-ROJAS,

                      Defendants.

       This matter is before the court on the defendant, Manuel Ortiz’ Notice of Competency

Defense, Request for Mental Evaluation and Hearing to Determine (#126), pursuant to 18 U.S.C.

§ 4241(a).

       An evidentiary hearing in accordance with 18 U.S.C. § 4247(d) was held before the

undersigned magistrate judge on February 3, 2017. The defendant Manuel Ortiz was present

with his counsel, Travis Penn. The United States was represented by Assistant United States

Attorney, Kimberly Bunjer. At the request of the parties, the Court took judicial notice of Dr.

Bruce Gutnik’s evaluation. (#145)

       Filing No. 145, Dr. Bruce Gutnik’s report, concludes that the defendant, Manuel Ortiz, is

not at this time competent to stand trial and cannot adequately participate in his own defense in a

rational manner. Therefore I find, by a preponderance of the evidence, that the defendant,

Manuel Ortiz is presently suffering from a mental disease or defect which renders him mentally

incompetent to understand the nature and consequences of the proceeding against him or to assist

properly in his defense pursuant to 18 U.S.C. § 4241.
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     IT IS ORDERED:

        1. The defendant, Manuel Ortiz’ Notice of Competency Defense, Request for Mental

           Evaluation and Hearing (#126) is granted.

        2. Defendant, Manuel Ortiz, is not presently competent to stand trial and is

           committed under Title 18 U.S.C. § 4241(d) to the custody of the Attorney General

           for hospitalization and treatment in a suitable facility for such a reasonable period

           of time not to exceed four months, as necessary to determine whether there is a

           substantial probability that in the foreseeable future he will attain the capacity to

           permit the trial to proceed; and for additional reasonable periods of time until his

           mental condition is so improved the trial may proceed, if the court finds that there

           is a substantial probability that within such additional period of time he will attain

           the capacity to permit the trial to proceed or the pending charges against him are

           disposed of according to law, whichever is earlier.

        3. The institution or facility shall submit to the undersigned a status report on the

           30th day following the defendant, Manuel Ortiz’ arrival at such facility. Once the

           court receives the status report, the court will immediately provide the evaluation

           to counsel of record.

        Dated this 6th day of February, 2017.



                                          BY THE COURT:

                                          s/ Susan M. Bazis
                                          United States Magistrate Judge
